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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                         CIVIL ACTION

VERSUS                                                           NO. 12-1924

CITY OF NEW ORLEANS                                              SECTION: “E” (2)



                                         ORDER
        The City filed its Response to the Court’s Rule to Show Cause on August 25, 2023

at approximately 5:00 p.m.1 In the response, the City references various documents

produced by Bates number but identifying them all as being in “Attached Ex. 1.”

        Many of these references are incorrect.

        The City is hereby ordered to file a supplemental response by 12:00 p.m. on

Monday, August 28, 2023, specifically and correcting identifying the exhibits in which

the referenced documents may be found.

        New Orleans, Louisiana, this 25th day of August, 2023.


                                          ____________________ ________
                                                  SUSIE MORGAN
                                           UNITED STATES DISTRICT JUDGE




1 R. Doc. 740.
